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18
                                      UNITED STATES DISTRICT COURT
19                                  NORTHERN DISTRICT OF CALIFORNIA
20
        ANIBAL RODRIGUEZ, SAL CATALDO,                            Case No.: 3:20-cv-04688-RS
21      JULIAN SANTIAGO, and SUSAN LYNN
        HARVEY individually and on behalf of all                  DECLARATION OF JAMES LEE IN
22      other similarly situated,                                 SUPPORT OF PLAINTIFFS’ MOTION
                                                                  FOR CLASS CERTIFICATION AND
23                        Plaintiffs,                             APPOINTMENT OF CLASS
         v.                                                       REPRESENTATIVES AND CLASS
24
                                                                  COUNSEL
25      GOOGLE LLC,
                                                                  Judge: Hon. Richard Seeborg
26                        Defendant.                              Courtroom 3 – 17th Floor
                                                                  Date: October 5, 2023
27                                                                Time: 1:30 p.m.
28

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1                                        DECLARATION OF JAMES LEE

2             I, James Lee, declare as follows.

3             1.       I am a partner with the law firm of Boies Schiller Flexner LLP (“BSF”), counsel

4     for Plaintiffs in this matter. I am an attorney at law duly licensed to practice before all courts of

5     the State of Florida and admitted pro hac vice for this case. Dkt. 9. I have personal knowledge of

6     the matters set forth herein and am competent to testify.

7             2.       I submit this Declaration in support of Plaintiffs’ motion for class certification and

8     appointment of class representatives and class counsel.

9             3.       The three law firms representing Plaintiffs, BSF, Morgan & Morgan, and Susman

10    Godfrey (collectively, “Counsel”), have collectively invested significant resources into

11    investigating and litigating this case. Counsel now together move to be appointed co-lead class

12    counsel. See also Bonn Declaration; Yanchunis Declaration.

13            4.       Counsel has diligently pursued discovery into Google’s collection, storage, and use

14    of (s)WAA-off data. Google initially proposed only three document custodians. Through Court

15    intervention, Counsel secured an additional 25 Google custodians. Counsel’s efforts, including the

16    filing of 18 discovery dispute letter briefs and/or motions to compel, have resulted in Google

17    producing tens of thousands of documents, spanning over two million pages. Counsel also served

18    285 RFPs, 25 Interrogatories and 52 RFAs, and Counsel successfully moved for an increase to the

19    presumptive limit of ten depositions per side, resulting in Plaintiffs taking 15 depositions of fact

20    witnesses. Counsel retained and onboarded 30 consultants and experts to assist with day-to-day

21    review of discovery and prepare reports.

22                     1.       Relevant Firm Expertise

23            5.       BSF’s experience in handling complex class actions is extensive. For years, the

24    firm has successfully litigated cutting edge, high-stakes class actions on both the plaintiff-side and

25    defense-side, giving the firm the experience and knowledge necessary to provide the proposed

26    classes the best representation possible. BSF has used its experience on both sides of significant

27    class action cases to predict opposing counsel’s litigation strategy, uncover hidden leverage points,

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1     anticipate key issues, and accurately assess risk and manage costs. In the last decade, BSF has

2     collected billions of dollars in settlements for plaintiffs. But unlike many firms, BSF also has

3     extensive experience in trying complex cases, including class actions, to verdict. Notable

4     settlements and victories in complex cases include:

5             •    In re: Blue Cross Blue Shield Antitrust Litigation: BSF serves as co-lead counsel in a

6                  class action on behalf of insureds against Blue Cross Blue Shield involving violations

7                  of the Sherman Act. The case was one of the most hotly contested cases in the last

8                  decade, involving over 30 separate defendants, more than 50 separate law firms, and

9                  over 1,000 lawyers. In 2020, Blue Cross Blue Shield agreed to settle the case for $2.7

10                 billion, as well as injunctive relief that will impact the health insurance market across

11                 the country. The Northern District of Alabama granted final approval of the settlement

12                 on August 9, 2022.

13            •    Jane Doe 1 v. JPMorgan Chase & Company: BSF serves as lead counsel on behalf of

14                 class of purported victims of sexual abuse by Jeffrey Epstein against JP Morgan Chase.

15                 Obtained a $290 million settlement from JP Morgan Chase for allegedly enabling

16                 Epstein’s sex-trafficking ring. The Southern District of New York granted preliminary

17                 approval of the settlement on June 27, 2023.

18            •    In re: Takata Airbag Products Liability Litigation: BSF serves as co-lead counsel in

19                 this MDL class action involving a uniform defect in airbag inflators found in cars made

20                 by the world’s largest automakers. The Takata Airbag MDL has resulted in over $1.5

21                 billion in settlements to date, including specific protections to consumers who have had

22                 their automobiles recalled as a result of the uniform defect. BSF continues to litigate

23                 claims against non-settling parties General Motors, Fiat Chrysler, and Mercedes Benz.

24            •    National Prescription Opiate MDL: BSF serves as lead counsel on behalf of the

25                 Cherokee Nation, in what was the MDL’s tribal bellwether case. BSF recently secured

26                 a $75 million settlement against the opioid distributors and is preparing for trial against

27                 the remaining defendant pharmacies Walmart, Walgreens, and CVS.

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1             •    Hoffman v. American Express: BSF represented American Express at trial and on

2                  appeal in a certified nationwide class action where the plaintiffs sought to recover more

3                  than $500 million. American Express brought in BSF after the class was certified, and

4                  BSF secured and defended on appeal a judgment in favor of American Express on all

5                  claims.

6             •    Mikaelyan v. Howard: BSF obtained dismissal of class action lawsuit asserting

7                  violation of FACTA based on alleged printing of information on receipts, based on

8                  inadequacies tied to standing and failure to adequately allege any willful violation.

9             •    Satchell v. Golden State Warriors: BSF obtained dismissal with prejudice on claims

10                 brought by an alleged class of millions of users seeking billions of dollars in statutory

11                 damages in a data misuse class action involving sound-based beacon technology for

12                 one of basketball’s favorite teams.

13            •    Benton v. Clarity: BSF obtained dismissal in a data misuse class action involving short-

14                 term loans data, after successful motion practice, where plaintiffs sought billions of

15                 dollars in damages for millions of users, on the basis of the Fair Credit and Reporting

16                 Act.

17            •    Pavone v. LexisNexis: BSF defeated class certification in a precedential data misuse

18                 class action involving driver and vehicle data, which could have negatively affected the

19                 ability to use millions of public records nationwide.

20            6.       Through its creative, aggressive, and efficient approach to litigation, combined with

21    its proven track record of success, BSF has earned a world-class reputation in the class action

22    arena. The firm “is known as the go-to law firm for high stakes, high profile litigation” (The

23    Washington Post), and has been described as a firm of “casual brilliance” (The National Journal),

24    a “Galaxy of Bright Lights” (The American Lawyer), and “the most powerful litigation turbine in

25    America” (Lawdragon). Some of the most sophisticated companies, which have their choice of

26    virtually any law firm in the country, regularly choose BSF’s litigation expertise for their most

27    important matters. These clients include and have included, for example, Carnival Corporation,

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1     NASCAR, Oracle Corporation, Federal Express, Atria Group, NextEra Energy, the New York

2     Yankees, and Sony Corporation of America.

3             7.       BSF has the depth and breadth of experience, personnel, and financial resources to

4     litigate this case effectively, and it has a track record of committing those resources to class actions

5     it has litigated and achieving exceptional results for its clients.

6                      2.       Team Members

7             8.       The BSF lawyers working on this matter include managing partner David Boies,

8     partners Mark C. Mao, James Lee, Alison Anderson, and Beko Reblitz-Richardson, and associates

9     Rossana Baeza and M. Logan Wright.

10            9.       David Boies: Mr. Boies has been the Chairman and a Managing Partner of BSF

11    since its founding in 1997. Mr. Boies has been selected as one of the 100 Most Influential People

12    in the World by Time Magazine (2010). He has been named Global International Litigator of the

13    Year by Who’s Who Legal an unprecedented seven times. Mr. Boies has been named the Litigator

14    of the Year by The American Lawyer; the Lawyer of the Year by The National Law Journal

15    (twice); the Antitrust Lawyer of the Year by the New York Bar Association; Best Lawyers in

16    America from 1987–2021; Lawdragon 500 Leading Lawyers; and an Eminent Practitioner by

17    Chambers USA. He was named one of the Top 50 Big Law Innovators of the Last 50 Years by

18    The American Lawyer in 2013.

19            10.      Mr. Boies is the recipient of Honorary Doctor of Laws from the University of

20    Redlands (2000), New York Law School (2007), University of New Hampshire School of Law

21    (2013), and New York University (2013) and an Honorary Doctor of Letters from the Chicago

22    Theological Seminary (2011). His awards include the Award of Merit from Yale Law School, the

23    ABA Medal from the American Bar Association, the Vanderbilt Medal from New York University

24    Law School, the Pinnacle Award from the International Dyslexia Association, the William

25    Brennan Award from the University of Virginia, the Role Model Award from Equality Forum, the

26    Lead by Example Award from the National Association of Women Lawyers, the Torch of Learning

27    Award from the American Friends of Hebrew University, the Eisendrath Bearer of Light Award

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1     from the Union for Reform Judaism, and a Lifetime Achievement Award from the Mississippi

2     Center for Justice.

3             11.      Mr. Boies served as Chief Counsel and Staff Director of the United States Senate

4     Antitrust Subcommittee in 1978 and Chief Counsel and Staff Director of the United States Senate

5     Judiciary Committee in 1979. In 1991–1993, he was counsel to the Federal Deposit Insurance

6     Corporation, recovering $1.2 billion from companies who sold junk bonds to failed savings and

7     loan associations. In 1998–2000, he served as Special Trial Counsel for the United States

8     Department of Justice in its antitrust suit against Microsoft. Mr. Boies also served as the lead

9     counsel for former Vice-President Al Gore in connection with litigation relating to the 2000

10    election Florida vote count. As co-lead counsel for the plaintiffs in Perry v. Brown, he won the

11    first judgment establishing the right to marry for gay and lesbian citizens under the U.S.

12    Constitution.

13            12.      Mr. Boies was born in Sycamore, Illinois on March 11, 1941. He attended the

14    University of Redlands (1960–62), and received a B.S. from Northwestern University (1964), an

15    LL.B., magna cum laude from Yale University (1966), and an LL.M. from New York University

16    (1967). He is a member of Phi Beta Kappa, a Fellow of the American College of Trial Lawyers

17    and the International Academy of Trial Lawyers; and a Trustee of the National Constitution Center,

18    Cold Spring Harbor Laboratory, New York University Law School Foundation and St. Luke’s-

19    Roosevelt Hospital Center. He is the author of numerous publications including Courting Justice

20    (2004), Redeeming the Dream (with Ted Olson), and Public Control of Business (with Paul

21    Verkuil), published by Little Brown in 1977. He has taught courses at New York University Law

22    School and Cardozo Law School.

23            13.      Mark C. Mao: Mr. Mao, a Partner at BSF’s San Francisco office and the Practice

24    Group Leader of BSF’s IP Litigation Practice Group, is one of the country’s leading experts in the

25    privacy field. He has resolved more than 400 cases in litigation. The consumer class actions he

26    resolves often include evolving privacy and regulatory issues, such as in the areas of data breach

27    and misuse, product liability, wiretap acts, the Fair Credit Reporting Act, and unfair and deceptive

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1     acts and practices litigation. Mr. Mao is certified by the International Association of Privacy

2     Professionals and was one of its first Fellows of Information Privacy. He is also a Certified

3     Information Privacy Technologist and a Certified Information Privacy Professional for the United

4     States, having completed over a hundred various privacy compliance and transactional projects. In

5     addition to having litigated important privacy cases such as Satchell v. Golden State Warriors,

6     Benton v. Clarity, and Pavone v. LexisNexis, Mr. Mao’s experience also includes the following

7     representative matters:

8             •    Lozano v. CodeMetro: Favorably resolved data breach class action claim in Southern

9                  California against a medical services software provider against hundreds of thousands

10                 of consumers.

11            •    Winstead v. ComplyRight: Favorably resolved data breach class action claim in N.D.

12                 Ill. against publishing company against hundreds of thousands of consumers.

13            •    Nguyen et al. v. Caboki: Obtained dismissal and costs against class action claims

14                 alleging illegal recording by customer support of retailer seeking tens of millions of

15                 dollars in statutory damages.

16            •    CFPB v. The Source For Public Data: Obtained a district court and then an appellate

17                 court win in case against the Consumer Financial Protection Bureau alleging that a data

18                 sourcing company may be a consumer reporting agency.

19            •    BaronsMedia.com v. Exponential Interactive, Inc. and related cases: Obtained

20                 favorable resolution against over a dozen business claimants, who alleged that they

21                 were substantially overcharged for years of targeted advertising services, involving

22                 hundreds of millions of transactions.

23            •    Koenig v. Lime Crime Inc.: Obtained a favorable resolution in a data breach class action

24                 involving malicious code injection in one of the web’s most popular social influencer

25                 websites.

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1             •     Koles v. Yapstone, Inc. (In re Yapstone Data Breach Litig.): Obtained a favorable

2                   resolution in a data breach class action involving the alleged vulnerability of a popular

3                   payment application and relating to the records of hundreds of thousands of consumers.

4             •     Piper v. Brian Kemp: Obtained a dismissal, without filing motions to dismiss, in one

5                   of the Southern United States’ largest data breaches allegedly involving over six

6                   million vote records.

7             14.      Critically, Mr. Mao designed the case theories in this case and led all pre-

8     investigation efforts. Mr. Mao graduated from the University of California, Berkeley School of

9     Law, and is currently the alumni president for the home chapter of the law school.

10            15.      James Lee: Mr. Lee, a Partner in BSF’s Miami office and Practice Group Leader

11    of BSF’s Class Actions, Opt-Outs, and Multi-District Litigation Practice Group, serves as trial

12    counsel in high-stakes litigation across several practice areas. He has served as lead counsel and

13    trial counsel on behalf of plaintiffs and defendants in numerous complex matters ranging from

14    product liability, securities, and commercial litigation. He has been tapped to serve as trial counsel

15    by high profile clients such as Philip Morris USA, FedEx Ground, and some of the wealthiest

16    individuals in the world. He also has vast experience representing plaintiff classes in large scale

17    class actions, such as serving as lead counsel for BSF in its representation of the plaintiff class in

18    the Takata Airbag MDL. His work on this case helped to achieve over $1.5 billion in settlements

19    on behalf of class members. He is currently prosecuting claims against General Motors, Fiat

20    Chrysler, and Mercedes Benz in the Takata Airbag MDL. In addition, Mr. Lee led the drafting

21    efforts for the initial complaint in this case, served as the primary contact for all of the named

22    Plaintiffs, and led the defense of their depositions. Mr. Lee graduated from Stanford Law School.

23            16.      Alison Anderson: Ms. Anderson, a Partner in BSF’s Los Angeles office, is a

24    seasoned trial lawyer with significant experience litigating complex criminal fraud trials, including

25    taking seven cases to jury trials. Ms. Anderson joined BSF in the fall of 2021 after working in the

26    Fraud Section of the Criminal Division of the U.S. Department of Justice for nearly a decade, first

27    as a trial attorney in the Securities and Financial Fraud Unit and later as an Assistant Deputy Chief

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1     in the Strategy, Policy, and Training Unit. Ms. Anderson’s trial experience included co-leading the

2     team in the high-profile United States v. Connolly matter, which has influenced the way corporate

3     clients approach cooperation with government investigations and the way defense counsel are

4     litigating these issues on behalf of individual clients. She also conducted high-profile

5     investigations of Fortune 500 companies like Deutsche Bank and Volkswagen, securing

6     resolutions that levied significant fines and established compliance monitorships. As an Assistant

7     Deputy Chief, Alison oversaw the agency’s recent criminal corporate resolutions with The Boeing

8     Company, JPMorgan Chase & Co., Bank of Nova Scotia, United Airlines, Inc., and others. Since

9     joining BSF, Ms. Anderson has worked on matters involving class actions, trade secrets, antitrust,

10    breach of contract, and criminal defense. Ms. Anderson clerked for the Honorable Johnnie

11    Rawlinson of the United States Court of Appeals for Ninth Circuit, and the Honorable Eduardo

12    Robreno of the United States District Court for the Eastern District of Pennsylvania and graduated

13    from Rutgers School of Law – Camden.

14            17.      Beko Reblitz-Richardson: Mr. Reblitz-Richardson, a Partner at BSF’s San

15    Francisco office and a Practice Group Leader of BSF’s Cybersecurity and Data Privacy Practice

16    Group, is an experienced trial lawyer who has successfully litigated matters for plaintiffs and

17    defendants in privacy matters and class action cases. Since joining BSF in 2005, he has obtained

18    favorable trial and pre-trial outcomes in a number of significant class actions. To name a few, in

19    Hoffman v. American Express, he represented American Express at trial, secured a judgment in

20    favor of American Express on all claims, and then successfully defended that judgment on appeal.

21    In Mikaelyan v. Howard, he obtained a dismissal of a class action lawsuit. Mr. Reblitz Richardson

22    also represented Oracle at trial in a number of actions, including one where the firm obtained a

23    $1.3 billion jury verdict against SAP and one where the firm obtained an award of over $100

24    million against Rimini Street. Mr. Reblitz-Richardson was also a part of the team that successfully

25    represented Starr International at trial with AIG, securing a judgment for Starr International. Mr.

26    Reblitz-Richardson also represented the plaintiffs at trial and on appeal in their challenge to

27    California’s Proposition 8, litigation that restored the right of same-sex couples to marry in

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1     California. His other clients have included Sony, Tyco, Broadcom, HSBC, and others. Mr. Reblitz-

2     Richardson graduated from the University of California, Berkeley School of Law.

3              18.      Rossana Baeza: Ms. Baeza, an Associate at BSF’s Miami office, focuses on

4     complex and appellate litigation. She has been involved in multidistrict litigation proceedings,

5     such as the Takata Airbag MDL class action and the National Prescription Opiate MDL. She

6     represents the Cherokee Nation in the MDL’s tribal bellwether case, which secured a $75 million

7     settlement against the opioid distributors. Ms. Baeza has experience in motions practice and

8     briefing, including helping win dismissals of claims, helping successfully oppose dispositive

9     motions, and successfully obtaining a reversal in an appeal before the U.S. Court of Appeals for

10    the Tenth Circuit. Ms. Baeza graduated from Washington and Lee University School of Law.

11             19.      M. Logan Wright: Mr. Wright is an Associate at BSF’s Los Angeles office where

12    he represents both plaintiffs and defendants in litigation in federal and state courts, as well as in

13    arbitration under major arbitral rules. Before joining the firm, Mr. Wright practiced complex

14    commercial litigation at another international law firm and served as General Counsel &

15    Legislative Assistant for a member of the U.S. House of Representatives. Mr. Wright clerked for

16    the Honorable Thomas Barber of the United States District Court for the Middle District of Florida

17    and graduated with honors from Columbia Law School.

18             I declare under penalty of perjury under the laws of the United States of America that the

19    foregoing is true and correct. Executed this 20th day of July 2023, at Miami, Florida.

20                                                                   /s/ James W. Lee
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